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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is MOOT.



  Dated: May 15, 2023
                                                                 ________________________________________
                                                                            SHAD M. ROBINSON
                                                                    UNITED STATES BANKRUPTCY JUDGE
  ____________________________________________________________



                               UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

      In re:

      ASTRALABS INC
                                                            T§
                                                             §
                                                             §
                                                                   Case No. 23-10164-smr
                                         O                   §     Chapter 11
               Debtor.                                       §     Subchapter V
                                                             §
                       O
         ORDER GRANTING UNOPPOSED APPLICATION OF SUBCHAPTER V
               TRUSTEE FOR POST-PETITION SECURITY DEPOSIT


             CAME FOR CONSIDERATION on the Application 1 filed by the Trustee
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  requesting post-petition security deposit from the Debtor, and the Court having reviewed

  and considered the Application and any objections or responses thereto; and the Court

  having reviewed the full record of this Case; and the Court having determined that the relief


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      Terms not defined herein shall have the same meanings ascribed to such terms as in the Application.

  ORDER GRANTING APPLICATION OF SUBCHAPTER V TRUSTEE FOR POST-PETITION SECURITY DEPOSIT
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  sought in the Application is appropriate, and that the legal and factual bases set forth in the

  Application establish just cause for the relief granted herein; and the Debtor and the Trustee

  have reached agreement; and after due deliberation and sufficient cause appearing, it is

  therefore

         ORDERED that the Debtor shall remit payments of $1,500 per month as post-

  petition security deposits (“Deposits”) for any fees and expenses incurred by the Trustee

  in connection to the fulfillment of his duties and obligations in the above-entitled case, and

  awarded approved by this Court, pursuant to 11 U.S.C. § 330 during the pendency of this

  bankruptcy case; it is further




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         ORDERED that the first Deposit due on April 17, 2023, in the amount of $1,500

  shall be paid via check made payable to Eric Terry Law PLLC and delivered to the Trustee

  no later than seven (7) days following Court approval; it is further
                                   O
         ORDERED that the subsequent Deposits in the amount of $1,500 shall be paid via

  check made payable to Eric B. Terry, Subchapter V Trustee and delivered to the Trustee
                 O
  on or before the 17th of the subsequent months; it is further

         ORDERED that subject to the Debtor’s cash-flow and ability to stay current on

  post-petition financial obligations, nothing in this Order shall prevent the Trustee from
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  filing an application for or from making an additional security deposit request, as the facts

  and circumstances of this bankruptcy case change; it is further.

         ORDERED that the Trustee shall deposit all payments received from Debtor into

  the Trustee’s IOLTA account and shall not apply the funds on deposit to any fees or

  expenses until those amounts are approved by the Court, pursuant to 11 U.S.C. § 330 and
  ORDER GRANTING APPLICATION OF SUBCHAPTER V TRUSTEE FOR POST-PETITION SECURITY DEPOSIT
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  Federal Rule of Bankruptcy Procedure 2016.

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  Submitted By:

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  SUBCHAPTER V TRUSTEE




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  ORDER GRANTING APPLICATION OF SUBCHAPTER V TRUSTEE FOR POST-PETITION SECURITY DEPOSIT
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